
933 So.2d 1220 (2006)
Thomas TROWBRIDGE, Appellant,
v.
STATE of Florida, Appellee.
No. 5D06-1769.
District Court of Appeal of Florida, Fifth District.
July 11, 2006.
Thomas H. Trowbridge, Lake City, pro se.
No Appearance for Appellee.
PER CURIAM.
AFFIRMED. See Alliy v. State, 863 So.2d 492 (Fla. 5th DCA 2004); Ruff v. State, 840 So.2d 1145 (Fla. 5th DCA 2003).
PLEUS, C.J., MONACO, J., and SHARP, W., Senior Judge, concur.
